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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF DELAWARE

  UNITED THERAPEUTICS                              )
  CORPORATION,                                     )
                                                   )
                            Plaintiff              )
                                                   )     C.A. No. 23-975 (RGA)
                   v.                              )
                                                   )
  LIQUIDIA TECHNOLOGIES, INC.,                     )
                                                   )
                            Defendant.             )


             STIPULATION AND [PROPOSED] ORDER TO EXTEND TIME
                   TO FILE PUBLIC VERSION OF DEFENDANT’S
             OPPOSITION TO MOTION FOR PRELIMINARY INJUNCTION

        IT IS STIPULATED AND AGREED by the parties, subject to the approval of the Court,

 that the time for Defendant to file public versions of its opposition to Plaintiff’s motion for a

 preliminary injunction and related papers (D.I. 52-55) is extended to April 19, 2024.

  MORRIS, NICHOLS, ARSHT & TUNNELL LLP                 SHAW KELLER LLP

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  April 16, 2024


 IT IS SO ORDERED, this                  day of April, 2024.



                                               UNITED STATES DISTRICT JUDGE
